    Case 8:21-cv-01807-JVS-DFM Document 36 Filed 05/25/22 Page 1 of 3 Page ID #:753

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 25, 2022


       No.:                   22-55520
       D.C. No.:              8:21-cv-01807-JVS-DFM
       Short Title:           John Doe v. Regents of the University of California


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                    UNITED STATES COURT OF APPEALS
                                                                   FILED
                           FOR THE NINTH CIRCUIT
                                                                   MAY 25 2022
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS




  JOHN DOE, an individual,                    No. 22-55520

               Plaintiff - Appellant,
                                              D.C. No. 8:21-cv-01807-JVS-DFM
    v.                                        U.S. District Court for Central
                                              California, Santa Ana
  REGENTS OF THE UNIVERSITY OF
  CALIFORNIA, a California                    TIME SCHEDULE ORDER
  corporation,

               Defendant - Appellee.



 The parties shall meet the following time schedule.

  Wed., June 1, 2022           Appellant's Mediation Questionnaire due. If your
                               registration for Appellate CM/ECF is confirmed after
                               this date, the Mediation Questionnaire is due within
                               one day of receiving the email from PACER
                               confirming your registration.
  Fri., July 22, 2022          Appellant's opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.
  Mon., August 22, 2022        Appellee's answering brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.

 The optional appellant's reply brief shall be filed and served within 21 days of
 service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
Case 8:21-cv-01807-JVS-DFM Document 36 Filed 05/25/22 Page 3 of 3 Page ID #:755

 Failure of the appellant to comply with the Time Schedule Order will result in
 automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: John Brendan Sigel
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
